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                                           1                       IN THE UNITED STATES DISTRICT COURT

                                           2                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                           4   KIARA ROBLES,                                    No. C 17-cv-4864-CW
                                           5                 Plaintiff,                         ORDER DENYING LEAVE TO
                                                                                                FILE MOTION FOR
                                           6           v.                                       RECONSIDERATION,
                                                                                                REQUEST FOR RECUSAL
                                           7   IN THE NAME OF HUMANITY, WE                      AND REQUEST FOR
                                               REFUSE TO ACCEPT A FASCIST                       CERTIFICATION TO NINTH
                                           8   AMERICA, et al.,                                 CIRCUIT
                                                          Defendants.
                                           9   ________________________________/                (Docket Nos. 87 & 92)
                                          10

                                          11          Plaintiff Kiara Robles seeks leave to file her motion for
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                                          12   reconsideration of the Court’s order revoking Larry Klayman’s pro

                                          13   hac vice status or, in the alternative, seeks recusal of the

                                          14   undersigned pursuant to 28 U.S.C. § 144.          Plaintiff subsequently

                                          15   filed a motion for leave to supplement this motion and also seeks

                                          16   certification of these decisions to the U.S. Court of Appeals if

                                          17   the motions are denied here.        The Court finds these motions

                                          18   suitable for disposition on the papers.          Having reviewed the

                                          19   papers and the record, the Court DENIES Plaintiff’s motions.

                                          20   I.     Background

                                          21          On June 5, 2017, Plaintiff Robles filed her complaint in

                                          22   Robles v. The Regents of the University of California, Berkeley,

                                          23   17-cv-3235-cw (Robles I).        On July 17, 2017, Plaintiff filed a

                                          24   request for recusal in Robles I, arguing that the undersigned is

                                          25   an alumna of University of California Berkeley and was appointed

                                          26   by former president Bill Clinton.         Robles I, Docket No. 50.       The

                                          27   Court denied the request for recusal on July 25, 2017.               Robles I,

                                          28   Docket No. 56 (Recusal Order).        On the same day, Plaintiff filed a
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                                           1   notice of voluntary dismissal in Robles I.       On August 22, 2017,

                                           2   Plaintiff filed the complaint here, alleging nearly identical

                                           3   facts and claims all alleged in Robles I.       Docket No. 1.      On

                                           4   September 28, 2017, the Court ordered the current case, Robles v.

                                           5   In the Name of Humanity, We Refuse to Accept a Fascist America et

                                           6   al, 17-cv-4864-cw, which had been randomly assigned to another

                                           7   judge, to be related to Robles I.

                                           8          On October 2, 2017, Defendants filed a motion to revoke the

                                           9   pro hac vice status of Plaintiff’s counsel, Larry Klayman.           Docket

                                          10   No. 15.   On May 23, 2018, the Court issued an eleven-page

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                                               tentative ruling outlining its reasons for its intention to grant
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                                          12   Defendants’ motion.    Docket No. 49 (Tentative Ruling).          The Court

                                          13   also offered Mr. Klayman the opportunity to request a hearing

                                          14   before the final ruling.     Docket Nos. 49, 56 & 66.      In the

                                          15   Tentative Ruling, the Court noted the series of judicial

                                          16   reprimands and sanctions faced by Mr. Klayman, including the Ninth

                                          17   Circuit’s affirmance of the District of Nevada’s decision to deny

                                          18   Mr. Klayman’s application for pro hac vice.        Tentative Ruling at

                                          19   2-4.   The Court also noted the disciplinary proceedings against

                                          20   Mr. Klayman in the jurisdictions in which he was licensed to

                                          21   practice, Florida and the District of Columbia.        The Court relied

                                          22   on the June 19, 2017 District of Columbia Court of Appeals’ Board

                                          23   of Professional Responsibility Report and Recommendation (D.C.

                                          24   Recommendation) which “found by ‘clear and convincing evidence’

                                          25   that [Mr.] Klayman’s conduct ‘raises a serious doubt as to his

                                          26   ability to practice in conformance with the rules.’”         Id. at 4-6

                                          27   (citing D.C. Recommendation).

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                                           1        The Court’s Tentative Ruling also addressed Plaintiff’s

                                           2   counsel’s failure to follow the local rules and procedures of this

                                           3   District, including failing to comply with the Court’s deadline to

                                           4   oppose a motion to dismiss.     Id. at 10.

                                           5        The parties subsequently submitted supplemental briefing and

                                           6   appeared for a hearing.    Docket Nos. 66, 71, 72 & 73.       On August

                                           7   31, 2018, the Court issued its final ruling.        Docket No. 86 (Final

                                           8   PHV Order).   The Court found that Mr. Klayman “present[ed] no new

                                           9   arguments or facts that would change the Court’s tentative

                                          10   ruling.”   Id. at 1.   The Court also noted that the D.C.

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                                               Recommendation was on appeal, but that the “findings that Klayman
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                                          12   violated Rules of Professional Responsibility were still
                                          13   instructive.”   Id.
                                          14        On September 13, 2018, Plaintiff filed the instant request
                                          15   for leave to file a motion for reconsideration of the order
                                          16   revoking Mr. Klayman’s pro hac vice status and, in the
                                          17   alternative, again seeking recusal.      Docket No. 87.     On September
                                          18   14, 2018, the Court issued its order on Defendants’ motion to
                                          19   dismiss, dismissing most of Plaintiff’s claims against Defendants
                                          20   with prejudice.   Docket No. 88.     On October 2, 2018, Plaintiff
                                          21   filed her motion for leave to supplement her request for
                                          22   reconsideration, arguing that the Court’s order on the motion to
                                          23   dismiss was improper given the pending motion for recusal.        Docket
                                          24   No. 92.
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                                           1   II.   Discussion
                                           2         A.   Plaintiff’s Request for Leave to File Motion for
                                                          Reconsideration of Order Revoking Pro Hac Vice Status is
                                           3              Denied
                                           4         This District allows for leave to file a motion for

                                           5   reconsideration if there is a showing of the following:

                                           6         The moving party must specifically show reasonable
                                                     diligence in bringing the motion, and one of the
                                           7         following:
                                           8         (1) That at the time of the motion for leave, a
                                                     material difference in fact or law exists from that
                                           9         which was presented to the Court before entry of the
                                                     interlocutory order for which reconsideration is sought.
                                          10         The party also must show that in the exercise of
                                                     reasonable diligence the party applying for
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                                                     reconsideration did not know such fact or law at the
                                                     time of the interlocutory order; or
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                                          12
                                                     (2) The emergence of new material facts or a change of
                                          13         law occurring after the time of such order; or
                                          14         (3) A manifest failure by the Court to consider
                                                     material facts or dispositive legal arguments which were
                                          15         presented to the Court before such interlocutory order.
                                          16   Civil L.R. 7-9.
                                          17         Plaintiff argues that reconsideration is appropriate here

                                          18   because the Court has “manifest[ly] fail[ed] . . . to consider”

                                          19   three purported “material facts.”        First, the Court made an

                                          20   incorrect finding that Plaintiff had moved to disqualify the

                                          21   undersigned previously when Plaintiff had only sought a recusal.

                                          22   Motion at 5.   Second, the Court “consciously disregarded Robles’

                                          23   constitutional due process” because Plaintiff cannot proceed

                                          24   without Mr. Klayman.    Specifically, she cannot find other

                                          25   representation and her local counsel Michael Kolodzi cannot

                                          26   represent Plaintiff by himself.      Id. at 6.   Third, the Court

                                          27   relied on the D.C. Recommendation as dispositive law and failed to

                                          28   consider the dissenting opinion in a Ninth Circuit case.          Id. at

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                                           1   7.    The Court does not find any of these reasons persuasive.            They

                                           2   are insufficient for purposes of reconsideration.

                                           3          First, Robles’ argument that the Court made an erroneous

                                           4   finding that she made a motion for disqualification when she only

                                           5   requested recusal is meritless.         As the Court noted in the Robles

                                           6   I order denying recusal, “The standards for disqualification or

                                           7   recusal under 28 U.S.C. §§ 144 and 455 are identical.”               Recusal

                                           8   Order at 1 (citing United States v. Sibla, 624 F.3d 864, 867 (9th

                                           9   Cir. 1980).     Thus, the Court did not make an erroneous finding
                                          10   when it used the term disqualification instead recusal.              Nor is
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                                               this a material fact or dispositive legal argument sufficient for
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                                          12   reconsideration purposes.
                                          13          Second, revoking the pro hac vice application of Mr. Klayman
                                          14   has not deprived Plaintiff of any constitutional right to counsel.
                                          15   As the Court has addressed previously in its Final PHV Order,
                                          16   Plaintiff is still represented by Mr. Kolodzi.1           Furthermore, a
                                          17   plaintiff in a civil case does not have a constitutional right to
                                          18   counsel nor does she have an absolute right to select the counsel
                                          19   she desires.      Melendres v. Arpaio, 2015 WL 11071093, at *2 (D. Az.
                                          20   July 10, 2015) (rejecting plaintiff’s argument that the court’s

                                          21   denial of plaintiff’s counsel’s pro hac vice application violated

                                          22   his constitutional right to counsel, holding there is no

                                          23   constitutional right to counsel in a civil action); Matter of

                                          24   Wynn, 889 F.2d 644, 646 (5th Cir. 1989) (“[A] litigant must be
                                          25
                                               1 If Mr. Kolodzi is unable to continue representing Plaintiff for
                                          26   financial or other reasons, he may seek permission from this Court
                                               to withdraw as Plaintiff’s attorney pursuant to the local rules.
                                          27   See Civil L.R. 11-5.
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                                           1   afforded a fair opportunity to secure counsel of his choice, not

                                           2   that he has an absolute right to select any counsel he desires.”);

                                           3   Bass v. Perrin, 170 F.3d 1312, 1320 (11th Cir. 1999); see also

                                           4   United States v. Ries, 100 F.3d 1469, 1471 (9th Cir. 1996)

                                           5   (upholding district court’s denial of litigant’s counsel’s pro hac

                                           6   vice application because there was a “compelling purpose” for the

                                           7   court to “orderly administ[er]” justice).       Thus, the Court’s

                                           8   revocation of Mr. Klayman’s pro hac vice status did not impinge on

                                           9   any constitutional rights.

                                          10          Plaintiff’s remaining arguments merely rehash her prior

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                                               arguments raised in her papers and at the hearing.         Plaintiff has
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                                          12   not established that the Court “manifestly fail[ed]” to address

                                          13   any of these arguments pursuant to Local Rules.        See Final PHV

                                          14   Order at 1-2.
                                          15          Plaintiff has failed to identify any material facts or
                                          16   dispositive legal arguments that the Court had not previously
                                          17   considered.    Thus, the Court DENIES Plaintiff’s motion for leave
                                          18   to file a motion for reconsideration.
                                          19          B.   Plaintiff’s Request for Recusal Is Denied
                                          20          Plaintiff also seeks recusal a second time under 28 U.S.C. §
                                          21   144, based again on the alma mater and appointing president of the
                                          22   undersigned.    She also complains of the Court’s rulings against
                                          23   her.   Under § 144, “[w]henever a party . . . makes and files a
                                          24   timely and sufficient affidavit that the judge before whom the
                                          25   matter is pending has a personal bias or prejudice[,] . . . such
                                          26   judge shall proceed no further therein, but another judge shall be
                                          27   assigned to hear such proceeding.”       28 U.S.C. § 144.    “The
                                          28   affidavit shall state the facts and the reasons for the belief

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                                           1   that bias or prejudice exists.”      Id.   This affidavit must be

                                           2   legally sufficient to establish bias or prejudice, and “must state

                                           3   facts which if true fairly support the allegation that bias or

                                           4   prejudice stemming from (1) an extrajudicial source (2) may

                                           5   prevent a fair decision on the merits . . . [and] (3) the

                                           6   substantiality of the support given by these facts to the

                                           7   allegation of bias.”    United States v. Azhocar, 581 F.2d 735, 739-

                                           8   40 (9th Cir. 1978).    Plaintiff’s request is denied because she has

                                           9   failed to submit affidavits identifying any purported bias or

                                          10   prejudice and has failed to identify any appropriate basis for

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                                               recusal.   28 U.S.C. § 144.    Plaintiff’s affidavits merely state
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                                          12   that she cannot find another attorney, and that Mr. Kolodzi will

                                          13   be unable to represent Plaintiff by himself.        Docket No. 87-2 &

                                          14   87-3 (Motion, Exs. 2 & 3).     These do not speak to any purported

                                          15   bias or prejudice.    United States v. Sibla, 624 F.2d 864, 868 (9th

                                          16   Cir. 1980).   Plaintiff’s request for recusal under § 144 is denied
                                          17   for this reason alone.
                                          18        Nor has Plaintiff identified a valid basis for recusal.         She
                                          19   repeats the arguments in her first recusal motion.         However, as
                                          20   stated in the Court’s order denying Plaintiff’s request for
                                          21   recusal in the first instance, Plaintiff’s argument is meritless.
                                          22   Recusal Order at 1-2.    A judge’s alma mater and appointing
                                          23   president do not create the appearance of a conflict of interest.
                                          24   Larson v. C.I.A., No. 1:10-cv-01774 OWW JL, 2010 WL 4623923, at *1
                                          25   (E.D. Cal. Nov. 5, 2010).     Plaintiff’s only new point –- that the

                                          26   undersigned has demonstrated bias or prejudice based on rulings

                                          27   against Plaintiff –- also fails under clearly established law.

                                          28   Liteky v. United States, 510 U.S. 540, 541 (1994) (“[J]udicial

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                                           1   rulings alone almost never constitute [a] valid basis for a bias

                                           2   or partiality recusal motion.”); United States v. Studley, 783

                                           3   F.3d 934, 939-40 (9th Cir. 1986) (“[A] judge’s prior adverse

                                           4   ruling is not a sufficient cause for recusal” and is not an

                                           5   extrajudicial source).    Plaintiff’s request for recusal is DENIED.

                                           6        C.    The Court Did Not Improperly Issue an Order While
                                                          Plaintiff’s Motion for Reconsideration was Pending
                                           7
                                                    Plaintiff argues in her supplemental motion that the Court
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                                               improperly issued an order on Defendants’ motion to dismiss when
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                                               her recusal motion was pending.      Supp. Motion at 4-5.     When a
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                                               party files a timely and sufficient affidavit of bias or prejudice
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                                               on the part of the judge before whom the party's case is pending,
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                                               it is upon the judge to pass on the affidavit's legal sufficiency.
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                                               28 U.S.C. § 144; Berger v. United States, 255 U.S. 22, 35-36
                                          14
                                               (1922).   “Only after the judge determines that the affidavit of
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                                               bias or prejudice is legally sufficient does it become the duty of
                                          16
                                               the judge to ‘proceed no further’ in the case.”        Azhocar, 581 F.2d
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                                               at 738.   As stated above, Plaintiff’s affidavits were not legally
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                                               sufficient.   Thus, a stay of the current proceedings was not
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                                               warranted, nor would it have been appropriate to assign the case
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                                               to another a judge.    Issuing an order while the current recusal
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                                               motion was pending was not improper.
                                          22
                                                    D.    Plaintiff Is Not Entitled to Interlocutory Appeal
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                                                    Plaintiff lastly seeks permission to certify for
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                                               interlocutory appeal under 28 U.S.C. § 1292(b) any order denying
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                                               recusal and the order revoking Mr. Klayman’s pro hac vice status
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                                               if reconsideration is denied in this Order.        Supp. Motion at 6-8.
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                                               Pursuant to 28 U.S.C. § 1292(b), the district court may certify an
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                                           1   appeal of an interlocutory order if (1) the order involves a

                                           2   controlling question of law, (2) appealing the order may

                                           3   materially advance the ultimate termination of the litigation and

                                           4   (3) there is substantial ground for difference of opinion as to

                                           5   the question of law.    See Reese v. BP Exploration (Alaska) Inc.,

                                           6   643 F.3d 681, 687–88 (9th Cir. 2011).       “Section 1292(b) is a

                                           7   departure from the normal rule that only final judgments are

                                           8   appealable and therefore must be construed narrowly.”         James v.

                                           9   Price Stern Sloan, Inc., 283 F.3d 1064, 1068 n.6 (9th Cir. 2002).
                                          10   Thus, the court should apply the statute's requirements strictly,
                                          11
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                                               and should grant a motion for certification only when exceptional
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                                          12   circumstances warrant it.     Coopers & Lybrand v. Livesay, 437 U.S.
                                          13   463, 475 (1978), superseded on unrelated grounds in Microsoft
                                          14   Corp. v. Baker, 437 U.S. 463 (2017).       The party seeking
                                          15   certification to appeal an interlocutory order has the burden of
                                          16   establishing the existence of such exceptional circumstances.         Id.
                                          17   A court has substantial discretion in deciding whether to grant a
                                          18   party's motion for certification.        Brown v. Oneonta, 916 F. Supp.
                                          19   176, 180 (N.D.N.Y. 1996).

                                          20        Here, Plaintiff again merely repeats her arguments asserted

                                          21   in her motions for reconsideration and for recusal.         Supp. Motion

                                          22   at 6-11.   Plaintiff only offers a formulaic recitation of the

                                          23   standard for interlocutory appeal.       She does not identify a

                                          24   controlling question of law, establish how granting certification

                                          25   would materially advance the termination of the litigation, or

                                          26   point to a substantial difference of opinion.        Plaintiff has not

                                          27   met her burden to show exceptional circumstances that would merit

                                          28   interlocutory appeal on either issue.       Zepeda v. PayPal, Inc.,

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                                           1   C10-2500 SBA, 2014 WL 588066, at *2 (N.D. Cal. Feb. 14, 2014)

                                           2   (finding plaintiff’s motion to be frivolous and filed in bad faith

                                           3   and denying plaintiff’s request for interlocutory appeal of

                                           4   plaintiff’s § 144 recusal motion); Brooks v. Motsenbocker Advanced

                                           5   Devs., Inc., 07-cv-0773-MMA, 2009 WL 10671993, at *4 (S.D. Cal. May

                                           6   15, 2009) (denying interlocutory appeal of an attorney

                                           7   disqualification order).

                                           8   III. Conclusion
                                           9
                                                    For the foregoing reasons, Plaintiff’s motion for
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                                               reconsideration and, in the alternative, for recusal is DENIED.
                                          11
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                                               Plaintiff’s supplemental motion seeking interlocutory appeal of
    United States District Court




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                                               these two decisions is also DENIED.
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                                                    IT IS SO ORDERED.
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                                               Dated: October 24, 2018
                                          16                                         CLAUDIA WILKEN
                                                                                     United States District Judge
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